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SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
Central Justice Center
700 W. Civic Center Drive
Santa Ana, CA 92702
SHORT TITLE: Global Discovery Biosciences Corporation vs. Al Thani



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                     SERVICE                                                            30-2016-00878822-CU-BC-CJC


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V3 1013a (June 2004)                                                                           Code of Civ. Procedure , § CCP1013(a)
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